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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK
                                               §
    FABRICANT LLP,                             §    Misc. Action No.
    PETER LAMBRIANAKOS, VINCENT J.             §
    RUBINO, III, ENRIQUE W. ITURRALDE,         §
    and ZHONG LAW FIRM,                        §
                                               §
                          Plaintiffs,          §
                                               §
                   v.                          §
                                               §
    SAMSUNG ELECTRONICS CO., LTD. and          §
    SAMSUNG ELECTRONICS AMERICA,               §
    INC.,                                      §
                    Defendants.                §
                                               §

      NON-PARTIES FABRICANT LLP, CERTAIN FABRICANT LLP ATTORNEYS,
           AND ZHONG LAW FIRM’S MOTION TO QUASH SUBPOENAS 1




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 Non-Parties Fabricant LLP, Peter Lambrianakos, Vincent J. Rubino, III, Enrique W. Iturralde,
and Zhong Law Firm file this Motion in the Southern District of New York as the Court “where
compliance is required,” under the terms of the Subpoena, in accordance with Rule 45(d)(3)(B).
The matter in which this Subpoena was issued, and issuing Court, are AGIS Software Dev. LLC v.
Samsung Elec. Co., No. 2:22-cv-00263-JRG, in the United States District Court for the Eastern
District of Texas, Marshall Division.
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I.     INTRODUCTION

       Pursuant to Fed. R. Civ. P. 45, Non-Parties Fabricant LLP, the Fabricant Attorneys, and

the Zhong Law Firm (collectively, the “Non-Parties”) respectfully move the Court to quash

Defendants Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.’s (collectively,

“Defendants” or “Samsung”) Subpoenas, attached hereto as Exhibits 1–7, to which the Non-Parties

object. In support of this Motion and as good cause for this request, the Non-Parties would show

the Court as follows:

II.    BACKGROUND

       Plaintiff AGIS Software Development LLC (“AGIS”) filed its original complaint against

Defendants on July 14, 2022. See AGIS Software Dev. LLC v. Samsung Elec. Co., No. 2:22-cv-

00263-JRG, Dkt. 1 (E.D. Tex. July 14, 2022). AGIS amended its complaint on December 5, 2022

(id. at Dkt. 29) and again on June 16, 2023 (id. at Dkt. 69), to which Defendants filed their Answer,

Defenses and Counterclaims on May 31, 2023 (id. at Dkt. 64).       As part of its Answer, Defenses

and Counterclaims to the Second Amended Complaint, Defendants asserted a defense of Patent

Unenforceability of U.S. Patent No. 8,213,970 (the “’970 Patent”) due to Inequitable Conduct,

Unclean Hands, and a counterclaim for declaratory judgment of unenforceability. See AGIS

Software Dev. LLC v. Samsung Elec. Co., No. 2:22-cv-00263-JRG, Dkt. 80 at 13-32, 34-39 (E.D.

Tex. June 30, 2023).

       Fabricant LLP is the law firm of counsel of record for Plaintiff AGIS, Peter Lambrianakos,

Vincent J. Rubino, III, and Enrique Iturralde, in the EDTX matter. See id., Dkts. 5-7 (E.D. Tex.

July 14, 2022). Fabricant LLP and the Fabricant Attorneys are also counsel of record for Plaintiff

AGIS in a co-pending matter currently in the Northern District of California. See AGIS Software

Dev. LLC v. Google LLC, No. 5:22-cv-04826-BLF (N.D. Cal.). Jialin Zhong of Zhong Law Firm

was appointed as the prosecution attorney of Reexamination No. 90/014,507, filed by Google LLC


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on May 15, 2020, on behalf of AGIS. See Ex. 8, Patent Owner Power of Attorney.

       Plaintiff AGIS filed a motion to dismiss and strike Defendants’ counterclaims and

affirmative defenses relating to allegations of inequitable conduct and unclean hands in the

underlying infringement litigation. See AGIS Software Dev. LLC v. Samsung Elec. Co., No. 2:22-

cv-00263-JRG, Dkt. 89 (E.D. Tex. July 21, 2023). The Subpoenas are purportedly directed to

those claims and defenses.

       However, Defendants’ inequitable conduct defense is fatally flawed because it fails to

plead facts showing “but-for materiality” of a claim limitation of a different patent from a prior

litigation. In addition, Defendants’ unclean hands defense is fatally flawed because it does not

allege any acts by AGIS’s litigation counsel that plausibly suggests a Protective Order violation.

Rather, the activity pointed to by Defendants is expressly permitted and contemplated by the

Protective Order. Defendants provided notice of the Subpoenas on the same day that Plaintiff

AGIS moved to dismiss and strike Defendants’ counterclaims and defenses.

       Fabricant, the Fabricant Attorneys, and Zhong Law Firm have never been a party to any of

the lawsuits. On July 31, 2023, Defendants served electronic copies of the Subpoenas on counsel

for Fabricant, the Fabricant Attorneys, and Zhong Law Firm, which contain a copy of the

Protective Order entered in the EDTX matter and each respective Subpoena Application. Copies

of the Subpoenas are attached as Exhibits 1-7. Each Subpoena directs the Non-Parties to produce

documents or appear for deposition at O’Melveny & Myers LLP’s New York office. See id. The

issuing court is the Eastern District of Texas. See id. As explained in the Non-Parties’ Motion to

Quash (Dkt. No. 1), the Subpoenas are overly broad and vague, unduly burdensome, and

improperly seek privileged information. Accordingly, the Subpoenas should and must be quashed.

III.   LEGAL STANDARD

       “Parties may obtain discovery regarding any nonprivileged matter that is relevant to any


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party’s claim or defense.” Fed. R. Civ. P. 26(b)(1).

        Rule 45 provides a subpoena may command “each person to whom it is directed to do the

following at a specified time and place: attend and testify; produce designated documents,

electronically stored information, or tangible things in that person’s possession, custody, or

control; or permit the inspection of premises.” Fed. R. Civ. P. 45(a)(1)(A)(iii).

        With respect to non-party subpoenas, the party or attorney responsible for issuing and

serving a subpoena “must take reasonable steps to avoid imposing undue burden or expense on a

person subject to the subpoena” and “[t]he court for the district where compliance is required must

enforce this duty and impose an appropriate sanction—which may include lost earnings and

reasonable attorney’s fees—on a party or attorney who fails to comply.” Fed. R. Civ. P. 45(d)(1).

“[T]he court for the district where compliance is required must quash or modify a subpoena that:

. . . (iii) requires disclosure of privileged or other protected matter, if no exception or waiver

applies; or (iv) subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(iii)-(iv).

        A party or person withholding subpoenaed information under a claim that it is privileged

or subject to protection must: “(i) expressly make the claim; and (ii) describe the nature of the

withheld documents, communications, or tangible things in a manner that, without revealing

information itself privileged or protected, will enable the parties to assess the claim.” Fed. R. Civ.

P. 45(e)(2)(A)(i)-(ii).

IV.     ARGUMENT

        The Court should quash Defendants’ Subpoenas to Fabricant, LLP, the Fabricant

Attorneys, and Zhong Law Firm in their entirety because they are facially overly broad, unduly

burdensome, unreasonable in scope, not narrowly tailored, and seek privileged information

protected from disclosure.

        The Subpoenas directed to Fabricant LLP and Zhong Law Firm are not reasonable in scope


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because they seek documents relating to the PTO and PTAB proceedings, without limitation to

subject matter or privilege, and the Subpoenas to the Fabricant Attorneys fail to include any

deposition topics whatsoever. The Subpoenas to Fabricant LLP and Zhong Law Firm, likewise,

do not specify the material to be produced as precisely as possible. The document requests and

deposition topics in the Subpoenas, where they are included, are overly broad and purposefully

seek information that is clearly privileged, including attorney notes and communications.

       A.      The Subpoenas Subject Non-Parties to an Undue Burden

       The Subpoenas must be quashed because they subject the Non-Parties to an undue burden.

Pursuant to Fed. R. Civ. P. 45(d)(3)(A)(iv), a subpoena which imposes an undue burden on a non-

party must be quashed. As the moving party, the Non-Parties bear the burden of proving that

compliance with the subpoena would be unreasonable and oppressive. Wiwa v. Royal Dutch

Petroleum Co., 392 F.3d 812, 818 (5th Cir. 2004). However, Fed. R. Civ. P. 45(d)(1) also imposes

an obligation on Defendants as the issuing party to “take reasonable steps to avoid imposing undue

burden or expense” on the Non-Parties. Determining whether the claimed burden is “undue”

requires the court to weigh the issuing party’s needs against the recipient’s burden. See Positive

Black Talk Inc. v. Cash Money Recs., Inc., 394 F.3d 357, 377 (5th Cir. 2004) (abrogated on other

grounds), Reed Elsevier, Inc. v. Muchnick, 130 S. Ct. 1237 (2010)).

       Here, the factors weigh heavily against Defendants as the issuing party. Defendants seek

to have the Non-Parties undertake a time-consuming and costly search for documents, particularly

where a large number of those documents are already part of the reexamination record and are

available through publicly-available means. Non-party status is a significant factor that courts

must consider when assessing whether an undue burden exists. See WM High Yield v. O’Hanlon,

460 F. Supp. 2d 891, 895-96 (S.D. Ind. 2006).




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       In determining whether a subpoena presents an undue burden, Courts will typically

consider the following factors: (1) the particularity with which the party describes the requested

documents; (2) the time period covered by the request; (3) the burden imposed; (4) whether

compliance with subpoena implicates privacy interests; (5) expense and inconvenience to the non-

party; (6) relevance of the information requested; (7) whether the sought-after evidence is more

readily available from another source; (8) the need of the party for the documents; and (9) the

breadth of the document request. See Wiwa, 392 F.3d at 818; see also Concord Boat Corp. v.

Brunswick Corp., 169 F.R.D. 44, 49 (S.N.D.Y. 1996).

       B.      Defendants’ Subpoenas to Fabricant, the Fabricant Attorneys, and
               Zhong Law Firm Are Overly Broad and Unreasonable in Scope

       Defendants’ Subpoenas to Fabricant LLP, the Fabricant Attorneys, and Zhong Law Firm

should be quashed because they are facially overbroad. A court may find that a subpoena presents

an undue burden when the subpoena is facially overbroad.            See Wiwa, 392 F.3d at 818.

Defendants’ Subpoenas to Fabricant LLP and Zhong Law Firm seek “[a]ll Documents related to

proceedings associated with U.S. Patent No. 8,213,970 before the United States Patent office or

the Patent Trial and Appeal Board. . . .” See Ex. 2 at 5; Ex. 7 at 5. The Requests and Topics seek

unlimited discovery on all PTO and PTAB proceedings for the ’970 Patent. While Defendants

appear to attempt to narrow the scope of the Requests and Topics by identifying specific

documents and information related to the reexamination of the ‘970 Patent, it nonetheless seeks

“[a]ll documents” related to proceedings involving the ’970 Patent. Ex. 1 at 5-8; Ex. 6 at 5-8.

However, there is only one proceeding that is the subject of Defendants’ counterclaims and

affirmative defenses—the reexamination of the ’970 Patent.              To request documents and

information related to all proceedings related to the ’970 Patent is unquestionably overbroad and

not relevant to the claims and defenses in the underlying litigation.



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         Defendants’ requests for documents and information related to all proceedings related to

the ’970 Patent is facially overbroad. While a temporal limit could be used to narrow the scope of

Defendants’ requests to relate to their counterclaims and affirmative defenses, neither the Requests

nor the Topics in the Subpoena to Fabricant LLP and Zhong Law Firm contain temporal limits on

the information sought. Ex. 1 at 5–8; Ex. 6 at 5-8. Consequently, the Subpoenas to Fabricant LLP

and Zhong Law Firm are clearly overbroad and should be quashed in their entirety. See Ubiquiti

Networks, Inc. v. Kozumi USA Corp., 295 F.R.D. 517, 527 (N.D. Fl. 2013) (holding documents

requests to a non-party lacking a time parameter was facially overbroad in a patent infringement

case).

         The Requests and the Topics also do not specify or identify the “proceedings associated

with U.S. Patent No. 8,213,970 before the [PTO] or the [PTAB],” and the term “associated with”

is vague and ambiguous. The overbreadth and vagueness of this language becomes even more

burdensome in asking Fabricant LLP and Zhong Law Firm to produce “[a]ll documents” related

to those proceedings when considering that the ’970 Patent has been involved in numerous

proceedings before the PTO and PTAB, most of which do not have any relevance to Defendants’

claims or defenses. Ex. 1 at 5; Ex. 6 at 5 (emphasis added).

         Defendants’ failure to narrowly tailor the Requests and Topics to reexamination of the ’970

Patent justifies quashing the Subpoenas to Fabricant LLP and Zhong Law Firm in its entirety.

         Finally, the Subpoenas to the Fabricant Attorneys fail to include any deposition topics. See

Exs. 3-5. There are no limits or boundaries provided for the testimony sought from the Fabricant

Attorneys whatsoever. Nor do the Subpoenas to the Fabricant Attorneys state that the testimony

sought is commensurate with the Topic in the Subpoena to Fabricant.

         Defendants’ Subpoenas fail to specifically identify the relevance of the information sought




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or a reasonable scope of inquiry in its application for subpoenas to the Fabricant Attorneys. The

Subpoenas to the Fabricant Attorneys contain no bounds on the scope of testimony sought. And,

as described further in Section IV.B infra, the lack of deposition topics for the Fabricant Attorneys

is not proper because Defendants seek privileged information from Fabricant LLP, the Fabricant

Attorneys, and Zhong Law Firm.

          C.     Defendants’ Subpoenas to Fabricant, the Fabricant Attorneys, and
                 Zhong Law Firm Seek Privileged Information

          The Subpoenas should also be quashed because once they are stripped away of any public

information that can be obtained without a subpoena, they seek information that is predominantly

subject to the attorney-client privilege and attorney work product privilege. The “minimal benefit”

that Defendants are “likely to gain to its current claims in defenses ultimately is outweighed by the

risk of encountering privilege and work-product issues.” See Petka v. Mylan Pharms., Inc., No.

16-mc-80196-MEJ, 2016 WL 6947589, at *4 (N.D. Cal. Nov. 28, 2016) (granting motion to

quash).

          Because the Subpoenas are directed to AGIS’s litigation and prosecution counsel,

Defendants must identify with specificity what non-privileged documents they seek.               But

Defendants make no pretense in seeking privileged documents, as the subject matter of the

Requests and Topics is facially privileged. The Requests seek at least the following categories of

documents that are privileged: “All Documents (including drafts and notes) concerning the

interviews conducted with individuals at the Patent Office on or about May 17, 2021, September

13, 2021, and October 19, 2021”; “All Documents (including drafts and notes) concerning new

claims and amendments to existing claims proposed during the reexamination process”; and “All

Documents embodying or reflecting communications among AGIS’s counsel involved in the

reexamination, including but not limited to Vincent Rubino, Enrique Iturralde, Peter



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 Lambrianakos, and Jialin Zhong.” Ex. 2 at 5-8; Ex. 7 at 5-8 (emphasis added). Nowhere in the

 Subpoenas to Fabricant LLP or Zhong Law Firm do Defendants attempt to limit their requests to

 non-privileged information.

        Defendants’ definition of the term “Communication(s)” also makes clear that Defendants

 seek   privileged   information.      Defendants    define   “Communication(s),”     stating   that

 “‘Communication(s)’ means any transmission of information, ideas, facts, data, proposals, or any

 other matter by one or more persons and/or between two or more persons by any means, including

 telephone conversations, letters, telegrams, teletypes, telexes, telecopies, electronic mail, other

 computer link-ups, written memoranda, and face-to-face conversations.” Ex. 1 at 2; Ex. 6 at 2

 (emphasis added). Requesting communications between AGIS’s counsel clearly shows that

 Defendants seek privileged communications, which is improper. Fed. R. Civ. P. 45(e)(2).

        The absence of any boundaries on the scope of testimony sought from the Fabricant

 Attorneys, coupled with the overly broad requests for production and deposition topics to Fabricant

 and Zhong Law Firm that seek privileged information, raise serious concerns that Defendants are

 using their Affirmative Defenses and Counterclaim to improperly obtain privileged information

 concerning the ex parte reexamination of the ’970 Patent (the “’970 Patent EPR”) and privileged

 information which has no bearing on the Inequitable Conduct Defense.

        The overly broad language of the Requests and the Topics taint all parts of the Subpoena.

 Even if the Requests and Topics were narrowed in scope, the information Defendants seek is

 inherently privileged. Because the Subpoenas to Fabricant LLP, the Fabricant Attorneys, and

 Zhong Law Firm is overly broad, unduly burdensome, unreasonable in scope, and seeks privileged

 information, the Court should quash the Subpoenas.




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        D.      Defendants Have Not Shown that No Other Means Exist to Obtain the
                Documents and Information Sought from Fabricant, the Fabricant
                Attorneys, and Zhong Law Firm

        The Subpoenas to Fabricant LLP, the Fabricant Attorneys, and Zhong Law Firm should

 also be quashed because Defendants have not shown that requesting documents from Fabricant

 and Zhong Law Firm and deposing the Fabricant Attorneys is the only means by which Defendants

 can obtain the requested information, to the extent non-privileged information responsive to the

 Subpoenas even exists.

        In determining whether a deposition of opposing counsel should go forward, a court may

 consider whether 1) no other means exists to obtain the information sought; 2) the information

 sought is relevant and non-privileged; and 3) the information is crucial to the preparation of the

 case. Shelton v. Am. Motors Corp., 805 F.2d 1323, 1327 (8th Cir. 1986).

        With respect to the first Shelton factor, Defendants have failed to show that no other means

 exist to obtain the information they seek from Fabricant LLP, the Fabricant Attorneys, and Zhong

 Law Firm. As a preliminary matter, many of the non-privileged materials sought by Defendants

 are accessible from public sources. In addition, the same materials are being sought from Fabricant

 LLP and Zhong Law Firm. See Ring Plus, Inc. v. Cingular Wireless, LLC, No. 2:06-cv-159-DF,

 2008 WL 11348478, at *4 (E.D. Tex. Feb. 13, 2008) (“Defendants do not explain why the

 information sought cannot be obtained by other means or even assert that they have exhausted all

 other means available.”).

        With respect to the second Shelton factor, Fabricant LLP, the Fabricant Attorneys, and

 Zhong Law Firm have shown that Defendants seek privileged information. See section IV.B

 supra. In addition, questioning the Fabricant Attorneys or Zhong Law Firm could result in

 revealing the attorney’s litigation strategy, which is information protected by the work product

 privilege. Pamida, Inc. v. E.S. Originals, Inc., 281 F.3d 726, 730 (8th Cir. 2002) (“Therefore,


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 because the answers to the questions could have in essence revealed the attorney’s litigation

 strategy, we held that the information sought was protected by the work product privilege.”).

 Finally, with respect to the third Shelton factor, Defendants has failed to demonstrate that Fabricant

 LLP, the Fabricant Attorneys, and/or Zhong Law Firm have “crucial” non-privileged information

 related to their defenses and counterclaims.

        Moreover, “depositions of opposing counsel are disfavored generally and should be

 permitted in only limited circumstances.’” Nguyen v. Excel Corp., 197 F.3d 200, 209 (5th Cir.

 1999). Fabricant LLP and the Fabricant Attorneys were not the main prosecuting attorneys in the

 970 Patent EPR, as shown by the record. As shown in Plaintiff AGIS’s Motion to Dismiss and

 Motion to Strike (AGIS Software Dev. LLC v. Samsung Elec. Co., No. 2:22-cv-00263-JRG, Dkt.

 89 (E.D. Tex. July 21, 2023)), mere attendance at examiner interviews does not mean that Messrs.

 Rubino and Iturralde were involved in the drafting of any amended claims. Defendants should not

 be permitted to engage in a fishing expedition through these Subpoenas to support their defenses

 and counterclaims which are flawed and currently subject to motions to strike and dismiss.

        Deposing Fabricant LLP and the Fabricant Attorneys is also overly burdensome and

 harassing. As shown above, much of the responsive, non-privileged information is already

 publicly-available to Defendants. If the Court were to enforce the Subpoenas to Fabricant LLP

 and Zhong Law Firm as currently written, Fabricant LLP and Zhong Law Firm’s attorneys would

 be forced to expend countless hours reviewing attorney work product documents, attorney-client

 communications, and communications, all of which are privileged documents. In addition,

 Fabricant LLP and Zhong Law Firm would have to redact those documents.                    This is an

 unreasonable request that serves only to harass AGIS’s litigation counsel and distract the parties

 from the merits of the investigation.




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        The weakness of Defendants’ counterclaims and affirmative defenses, coupled with the

 timing of Defendants’ Subpoenas while motions to dismiss and strike the counterclaims and

 affirmative defenses are pending, indicate that the Subpoenas were served for the improper

 purpose of interfering with the prosecution of the underlying infringement case.

        Defendants have not shown that deposing Fabricant LLP, the Fabricant Attorneys, and

 Zhong Law Firm is proper, and given the potential for harassment and abuse, Fabricant LLP, the

 Fabricant Attorneys, and Zhong Law Firm respectfully request that the Court quash the Subpoenas

 to Fabricant, the Fabricant Attorneys, and Zhong Law Firm in their entireties.

 V.     CONCLUSION

        For the foregoing reasons, Defendants’ Subpoenas issued to Fabricant LLP, t h e

 Fabricant Attorneys, and Zhong Law Firm should be quashed in their entireties.


  Date: August 14, 2023                               /s/ Alfred R. Fabricant
                                                     Alfred R. Fabricant
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                                                     Peter Lambrianakos, Vincent J. Rubino, III,
                                                     Enrique W. Iturralde, and Zhong Law Firm




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served

 upon all counsel of record for the interested parties in accordance with the Federal Rules of Civil

 Procedure via e-mail on this the 14th day of August, 2023.


                                              /s/ Alfred R. Fabricant
                                                 Alfred R. Fabricant




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